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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

 JORDAN WILSON,                         )               Case No.
                                        )
                   Plaintiff,           )
                                        )
                                        )               COMPLAINT FOR VIOLATIONS
              vs.                       )               OF THE FEDERAL SECURITIES
                                        )               LAWS
 TIVITY HEALTH, INC., RICHARD           )
 ASHWORTH, ANTHONY M. SANFILIPPO,       )               JURY TRIAL DEMANDED
 SARA J. FINLEY, ROBERT J. GRECZYN,     )
 JR., BETH M. JACOB, BRADLEY S. KARRO, ))
 STEPHANIE DAVIS MICHELMAN, and         )
 ERIN L. RUSSELL,                       )
                                        )
                  Defendants.           )
                                       )


       Plaintiff Jordan Wilson upon information and belief, including an examination and inquiry

conducted by and through his counsel, except as to those allegations pertaining to Plaintiff, which

are alleged upon personal belief, alleges the following for his Complaint:

                                 NATURE OF THE ACTION

       1.      Plaintiff brings this action against Tivity Health, Inc. (“Tivity Health” or the

“Company”) and its corporate directors for violating Sections 14(a) and 20(a) of the Securities

Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and U.S. Securities and

Exchange Commission (“SEC”) Rule 14a-9, 17 C.F.R. §240.14a-9 (“Rule 14a-9”), in connection

with the Board’s attempt to sell Tivity Health to Stone Point Capital LLC (“Stone Point Capital”)

(the “Proposed Transaction”).

       2.      On April 5, 2022, Tivity Health entered into an Agreement and Plan of Merger with

Titan-Atlas Parent, Inc. (“Parent”) and its direct, wholly-owned subsidiary, Titan-Atlas Merger

Sub, Inc. (“Merger Sub”) (the “Merger Agreement”). Parent and Merger Sub are affiliated with

Trident IX, L.P., Trident IX Parallel Fund, L.P. and Trident IX Professionals Fund, L.P.
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(collectively, the “Stone Point Funds”). Parent, Merger Sub and the Stone Point Funds are each

associated with Stone Point Capital. Pursuant to the terms of the Merger Agreement, Stone Point

Capital will acquire Tivity Health for $32.50 in cash for each share of Tivity Health common

stock.

         3.      On May 24, 2022, the Board authorized the filing of the materially incomplete and

misleading Schedule 14A Definitive Proxy Statement (the “Proxy Statement”) with the SEC.

Specifically, the Proxy Statement, which recommends that Tivity Health stockholders vote their

shares in favor of the Proposed Transaction, contains materially incomplete and misleading

information concerning, among other things: (a) the Company’s financial projections; (b) the

financial analyses that support the fairness opinion provided by the Company’s financial advisor,

Lazard Frères & Co. LLC (“Lazard”); (c) the background leading up to the Proposed Transaction;

and (d) Company insiders’ potential conflicts of interest.

         4.      It is imperative that the material information omitted from the Proxy Statement is

disclosed to the Company’s stockholders prior to the forthcoming stockholder vote so that they

can properly exercise their corporate suffrage rights.1

         5.      For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction unless and until the

material information discussed below is disclosed to the Company’s stockholders or, in the event

the Proposed Transaction is consummated, to recover damages resulting from the defendants’

violations of the Exchange Act.




1   The vote on the Proposed Transaction currently is scheduled for June 23, 2022.



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                                  JURISDICTION AND VENUE

         6.      This Court has jurisdiction over the claims asserted herein for violations of Sections

14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder pursuant to

Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331 (federal question

jurisdiction).

         7.      Personal jurisdiction exists over the defendants because each defendant either

conducts business in or maintains operations within this District, or is an individual with sufficient

minimum contacts with this District so as to make the exercise of jurisdiction by this Court

permissible under traditional notions of fair play and substantial justice.

         8.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because defendants

are found or are inhabitants or transact business in this District.

                                           THE PARTIES

         9.      Plaintiff is, and has been at all relevant times, the owner of shares of Tivity Health

common stock.

         10.     Defendant Tivity Health is a Delaware corporation, with its principal executive

offices located at 701 Cool Springs Boulevard, Franklin, Tennessee 37067. Tivity Health’s shares

trade on the Nasdaq Global Select Market under the ticker symbol “TVTY.”

         11.     Defendant Richard Ashworth is and has been President, Chief Executive Officer

and a director of the Company at all relevant times.

         12.     Defendant Anthony M. Sanfilippo is and has been Chairman of the Board and a

director of the Company at all relevant times.

         13.     Defendant Sara J. Finley is and has been a director of the Company at all relevant

times.




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         14.      Defendant Robert J. Greczyn, Jr. is and has been a director of the Company at all

relevant times.

         15.      Defendant Beth M. Jacob is and has been a director of the Company at all relevant

times.

         16.      Defendant Bradley S. Karro is and has been a director of the Company at all

relevant times.

         17.      Defendant Stephanie Davis Michelman is and has been Chairman of the Board and

a director of the Company at all relevant times.

         18.      Defendant Erin L. Russell is and has been a director of the Company at all relevant

times.

         19.      Defendants identified in paragraphs 11-18 are collectively referred to herein as the

“Board” or the “Individual Defendants.”

                                 SUBSTANTIVE ALLEGATIONS

The Proposed Transaction

         20.      On April 5, 2022, Tivity Health announced in relevant part:

         NASHVILLE, Tenn., April 5, 2022 -- Tivity Health® (Nasdaq: TVTY), a leading
         provider of healthy life-changing solutions, including SilverSneakers®, Prime®
         Fitness and WholeHealth Living®, today announced that it has entered into a
         definitive agreement to be acquired by funds managed by Stone Point Capital.
         Under the terms of the agreement, Tivity Health stockholders will receive $32.50
         in cash per share, representing a total transaction value of $2.0 billion. Upon
         completion of the transaction, Tivity Health will become a privately held company,
         and its common stock will no longer be traded on Nasdaq.

         Anthony Sanfilippo, Chairman of the Board of Directors of Tivity Health, said,
         “This agreement with Stone Point creates immediate and substantial value for
         shareholders while ensuring the company continues to help SilverSneakers
         members live healthier, happier and more connected lives as a leading senior fitness
         and health improvement platform. This transaction is the culmination of an
         extensive review of strategic alternatives that the Board initiated after receiving an
         unsolicited proposal from Stone Point. As part of that review, the Board engaged




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   with numerous potential acquirers with the assistance of outside advisors. The
   Board unanimously agreed that the transaction with Stone Point is the best
   opportunity for maximizing the value of Tivity Health. I am proud of what this
   company has accomplished for all stakeholders, in navigating the pandemic,
   streamlining and focusing the business, and executing on its strategy. Because of
   our team’s incredible work and dedication, over the past twelve months, Tivity
   Health stock has delivered a return of approximately 40%, and since February 28,
   2020, has delivered a 155% return.”

   Richard Ashworth, President and Chief Executive Officer of Tivity Health
   commented, “Stone Point recognizes the value of our brands, our well-known
   senior fitness and health improvement platform, and our world-class team. In the
   past two years, we have strengthened the business and look forward to working
   with Stone Point as we continue to innovate and expand on the healthy, life-
   changing solutions we provide to members, clients and partners.”

   Chuck Davis, CEO of Stone Point, said, “We have followed Tivity Health’s success
   for many years and have admired the positive impact it has had on the health and
   well-being of seniors who participate in its programs. We believe that the company
   is well positioned to leverage its market leading SilverSneakers® brand to
   capitalize on attractive secular tailwinds. We look forward to working with the
   company to broaden its service offerings to seniors to assist them in leading
   healthier lives. Stone Point is thrilled to partner with the Tivity Health management
   team to support the company in its next phase of growth.”

   Transaction Details
   The $32.50 in cash per share to be received by Tivity Health stockholders
   represents a 20% premium to the 90-day volume-weighted average price (VWAP)
   ending April 4, 2022. Fully committed debt financing has been obtained and the
   transaction is not subject to a financing condition. The transaction is expected to
   close in or prior to the third quarter of 2022, subject to the receipt of shareholder
   approval, regulatory approval and other customary closing conditions. Following
   completion of the transaction, Tivity Health will become a privately held company.

   Richard Ashworth will remain President and Chief Executive Officer of Tivity
   Health, upon closing of the transaction, and the Company will maintain its
   headquarters in Franklin, Tennessee and its campus location in Chandler, Arizona.

   Advisors
   Lazard is acting as the exclusive financial advisor to Tivity Health and Bass Berry
   & Sims PLC is serving as legal counsel to the Company. Truist Securities is acting
   as exclusive financial advisor to Stone Point and Kirkland & Ellis is serving as legal
   advisor to Stone Point.




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The Materially Incomplete and Misleading Proxy Statement

        21.    On May 24, 2022, the Board caused to be filed a materially incomplete and

misleading Proxy Statement with the SEC. The Proxy Statement, which recommends that Tivity

Health stockholders vote their shares in favor of the Proposed Transaction, fails to disclose

material information to Company stockholders, or provides them with materially misleading

information, concerning: (a) the Company’s financial projections; (b) the financial analyses that

support the fairness opinion provided by the Company’s financial advisor, Lazard; (c) the

background leading up to the Proposed Transaction; and (d) Company insiders’ potential conflicts

of interest.

Material Misrepresentations and/or Omissions Concerning Tivity Health’s Financial
Projections

        22.    The Proxy Statement fails to disclose material information concerning the financial

projections for the Company.

        23.    For example, with respect to the Company’s financial projections, the Proxy

Statement fails to disclose all line items underlying: (a) Adjusted EBITDA; and (b) Unlevered

Free Cash Flow.

Material Misrepresentations and/or Omissions Concerning Lazard’s Financial Analyses

        24.    The Proxy Statement fails to disclose material information concerning Lazard’s

financial analyses.

        25.    With respect to Lazard’s Discounted Cash Flow Analysis, the Proxy Statement fails

to disclose: (a) Tivity Health’s terminal year unlevered free cash flow utilized in the analysis; (b)

the Company’s terminal values; (c) the inputs and assumptions underlying the discount rates

ranging from 10.00% to 11.00%; and (d) the Company’s net debt.




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       26.     With respect to Lazard’s Selected Public Company Trading Analysis, the Proxy

Statement fails to disclose: (a) the individual multiples and financial metrics for each of the

selected companies analyzed by Lazard; (b) the Company’s net debt; and (c) Tivity Health’s

estimated Adjusted EPS for fiscal years 2022 and 2023.

       27.     With respect to Lazard’s Premiums Paid Analysis, the Proxy Statement fails to

disclose: (a) the transactions analyzed; and (b) the individual premiums observed for each

transaction.

       28.     With respect to Lazard’s Equity Research Analyst Price Targets analysis, the Proxy

Statement fails to disclose: (a) the individual price targets observed; and (b) the sources thereof.

Material Misrepresentations and/or Omissions Concerning the Background of the Proposed
Transaction

       29.     The Proxy Statement fails to disclose material information concerning the

background leading up to the Proposed Transaction.

       30.     Specifically, the Proxy Statement sets forth that, “[i]n summary, of the 31 parties

contacted including Stone Point Capital, 21 parties (comprised of 20 financial sponsors and one

strategic party) entered into non-disclosure agreements with Tivity Health containing customary

standstill provisions and received initial information[.]” Proxy Statement at 35. Yet, the Proxy

Statement fails to disclose whether any of the non-disclosure agreements the Company entered

into with potential counterparties during the sale process include a “don’t-ask, don’t-waive”

standstill provision that is still in effect and presently precluding these parties from submitting a

topping bid for the Company.




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Material Misrepresentations and/or Omissions Concerning Company Insiders’ Potential
Conflicts of Interest

       31.     The Proxy Statement also fails to disclose material information concerning

potential conflicts of interest faced by Company insiders.

       32.     Specifically, the Proxy Statement fails to disclose whether any of Stone Point

Capital’s proposals or indications of interest mentioned management retention in the combined

company following the Proposed Transaction or the purchase of or participation in the equity of

the surviving corporation. Notably, according to the April 5, 2022 press release announcing the

Proposed Transaction, “Richard Ashworth will remain President and Chief Executive Officer of

Tivity Health, upon closing of the transaction[.]”

       33.     In sum, the omission of the above-referenced information renders statements in the

“Projections Prepared by Tivity Health’s Management,” “Opinion of Tivity Health’s Financial

Advisor,” “Background of the Merger,” and “Interests of the Directors and Executive Officers of

Tivity Health in the Merger” sections of the Proxy Statement materially incomplete and misleading

in contravention of the Exchange Act. Absent disclosure of the foregoing material information

prior to the stockholder vote, Plaintiff and the other stockholders of Tivity Health will be unable

to make a sufficiently informed decision in connection with the Proposed Transaction and are thus

threatened with irreparable harm warranting the injunctive relief sought herein.

                                     CLAIMS FOR RELIEF

                                             COUNT I

  Claims for Violation of Section 14(a) of the Exchange Act and Rule 14a-9 Promulgated
            Thereunder Against the Individual Defendants and Tivity Health

       34.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       35.     The Individual Defendants disseminated the false and misleading Proxy Statement,

which contained statements that, in light of the circumstances under which they were made,



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omitted to state material facts necessary to make the statements therein not materially misleading,

in violation of Section 14(a) of the Exchange Act and Rule 14a-9. Tivity Health is liable as the

issuer of these statements.

       36.     The Proxy Statement was prepared, reviewed, and/or disseminated by the

Individual Defendants. By virtue of their positions within the Company, the Individual Defendants

were aware of this information and their duty to disclose this information in the Proxy Statement.

       37.     The Individual Defendants were at least negligent in filing the Proxy Statement

with these materially false and misleading statements.

       38.     The omissions and false and misleading statements in the Proxy Statement are

material in that a reasonable stockholder will consider them important in deciding how to vote on

the Proposed Transaction. In addition, a reasonable investor will view a full and accurate

disclosure as significantly altering the total mix of information made available in the Proxy

Statement and in other information reasonably available to stockholders.

       39.     The Proxy Statement is an essential link in causing Plaintiff and the Company’s

stockholders to approve the Proposed Transaction.

       40.     By reason of the foregoing, defendants violated Section 14(a) of the Exchange Act

and Rule 14a-9 promulgated thereunder.

       41.     Because of the false and misleading statements in the Proxy Statement, Plaintiff is

threatened with irreparable harm.

                                            COUNT II

                  Claims for Violation of Section 20(a) of the Exchange Act
                             Against the Individual Defendants

       42.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.




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       43.      The Individual Defendants acted as controlling persons of Tivity Health within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Tivity Health and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the false statements contained in the Proxy Statement,

they had the power to influence and control and did influence and control, directly or indirectly,

the decision making of the Company, including the content and dissemination of the various

statements that Plaintiff contends are false and misleading.

       44.      Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement alleged by Plaintiff to be misleading prior to and/or shortly after

these statements were issued and had the ability to prevent the issuance of the statements or cause

them to be corrected.

       45.      In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control and influence the particular transactions giving rise to the violations as alleged

herein, and exercised the same. The Proxy Statement contains the unanimous recommendation of

the Individual Defendants to approve the Proposed Transaction. They were thus directly involved

in the making of the Proxy Statement.

       46.      By virtue of the foregoing, the Individual Defendants violated Section 20(a) of the

Exchange Act.

       47.      As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) of the Exchange

Act and Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their positions as




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controlling persons, these defendants are liable pursuant to Section 20(a) of the Exchange Act. As

a direct and proximate result of defendants’ conduct, Plaintiff is threatened with irreparable harm.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief,

including injunctive relief, in his favor on behalf of Tivity Health, and against defendants, as

follows:

                A.     Preliminarily and permanently enjoining defendants and all persons acting

in concert with them from proceeding with, consummating, or closing the Proposed Transaction,

including the stockholder vote on the Proposed Transaction, unless and until defendants disclose

the material information identified above which has been omitted from the Proxy Statement;

                B.     In the event defendants consummate the Proposed Transaction, rescinding

it and setting it aside or awarding rescissory damages to Plaintiff;

                C.     Directing the Individual Defendants to file a Proxy Statement that does not

contain any untrue statements of material fact;

                D.     Awarding Plaintiff the costs of this action, including reasonable allowance

for Plaintiff’s attorneys’ and experts’ fees; and

                E.     Granting such other and further relief as this Court may deem just and

proper.

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                                      JURY DEMAND

     Plaintiff demands a trial by jury on all claims and issues so triable.

Dated: June 1, 2022                                  LONG LAW, LLC

                                                By /s/ Brian D. Long
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